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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

 APEX OIL COMPANY                           CIVIL DOCKET NO. 6:22-CV-0473

 VERSUS                                     JUDGE DAVID C. JOSEPH

 STARR INDEMNITY &                          MAGISTRATE JUDGE CAROL B.
 LIABILITY COMPANY                          WHITEHURST


                                        ORDER

       Considering the JOINT MOTION TO DISMISS WITH PREJUDICE [Doc. 19], filed by

 Plaintiff, Apex Oil Company, and Defendant, Starr Indemnity & Liability Company,

       IT IS HEREBY ORDERED that this lawsuit and all claims asserted by

 Plaintiff, Apex Oil Company, are DISMISSED WITH PREJUDICE, with each party

 to bear their own costs and attorney’s fees.

       THUS, DONE AND SIGNED in Chambers on this 18th day of August 2022.




                                            DAVID C. JOSEPH
                                            UNITED STATES DISTRICT JUDGE
